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                         UNITED STATES BANKRUPTCY COURT FOR THE
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                                                      §             Chapter 11
                                                            §
KORNBLUTH TEXAS, LLC,                                       §             Case No. 21-32261 (CML)
                                                            §
Debtor                                                      §


                            ORDER AND STIPULATION AUTHORIZING
                           THE CONTINUED USE OF CASH COLLATERAL

           Kornbluth Texas, LLC, the above-captioned debtor and debtor in possession (the “Debtor”)

and WFCM 2016-LC25 West Bay Area Boulevard, LLC (“Lender” and together with the Debtor,

the “Parties”), acting by and through their undersigned counsel, stipulate and agree (the “Stipulated

Order”) as follows:

                                                     RECITALS

           A.       WHEREAS, on July 5, 2021 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). 1

The Debtor continues to manage its property and its business as a debtor in possession pursuant to

§§ 1107 and 1108. The Debtor’s primary asset is its interest in the real property commonly known

as Holiday Inn Webster and located at 302 West Bay Area Boulevard, Webster, Texas 77598 (the

“Property”).

           B.       WHEREAS, Lender asserts that it is the holder of security interests, liens, and

mortgages in all or substantially all of the Debtor’s property, including, but not limited to: (i) the

Property and improvements thereon; (ii) all of the Debtor’s rights, title, and interests in all leases,



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    Unless otherwise indicated, all section (§) references are to the Bankruptcy Code.
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revenue, and rents collected therefrom; and (iii) all of the Debtor’s rights, title, and interests in all

buildings, structures, fixtures, inventory and personal property located thereon (collectively, the

“Collateral”), as evidenced by the loan documents (collectively, the “Loan Documents”). Lender

asserts that all of the Debtor’s proceeds from the Collateral are cash collateral of the Lender (the

“Cash Collateral”) within the meaning of § 363(a).

        C.      WHEREAS, the U.S. Small Business Administration asserts it has a validly

perfected lien encumbering all of the debtor’s tangible and intangible personal property, including

but not limited to accounts, deposit accounts, and receivables.

        D.      WHEREAS, on September 30, 2021, the Court appointed Douglas Brickley of The

Claro Group, LLC as the Chief Restructuring Officer of the Debtor (“CRO”) pursuant to

Bankruptcy Code section 327(a) to operate and manage the Debtor’s business operations.

        E.      WHEREAS, on October 13, 2021, the Court entered its Agreed Order and

Stipulation Authorizing Debtor to Use Cash Collateral on a Final Basis [Docket No. 110] (the

“Final Cash Collateral Order”).

        F.      WHEREAS, appended to the Final Cash Collateral Order as Exhibit A was an

operating budget for October 2021 and the Parties subsequently agreed to an operating budget for

November 2021.

        G.      WHEREAS, for December 2021 and January 2022, the Debtor and Lender agree

that it is in the best interest of the Parties and the Debtor’s bankruptcy estate for the Cash Collateral

to be used in accordance with the budget attached hereto as Exhibit “A” (as the same may be

amended or modified with the express prior written consent of Lender, the “Revised Operating

Budget”).




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           H.       WHEREAS, except as otherwise stated herein, the Debtor, Lender, and the United

States reserve all of their respective rights against the other with respect thereto.

                                         STIPULATION AND ORDER

           NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED BY THE DEBTOR

AND LENDER, THROUGH THEIR UNDERSIGNED COUNSEL, AND, UPON COURT

APPROVAL HEREOF, IT SHALL BE ORDERED THAT:

           1.       Except as set forth below, (i) that certain Stipulation [Docket No. 117] between the

Debtor, Lender, and Holiday Hospitality Franchising, LLC; and (ii) the Final Cash Collateral

Order are incorporated by reference herein. 2

           2.       The Debtor is hereby authorized, pursuant to sections 361 and 363 of the

Bankruptcy Code, to use Authorized Cash Collateral (as defined in the Final Cash Collateral

Order) in accordance with the Revised Operating Budget.

           3.       Section 2(f) of the Final Cash Collateral Order is stricken; provided, however, that

the Debtor shall pay the Lender the amount of $20,000 as an Adequate Protection Payment within

three (3) business days of entry of this Stipulated Order.

           4.       Section 4 of the Final Cash Collateral Order is revised to read as follows:

           Notwithstanding anything to the contrary contained herein, the Debtor’s right to
           use the Cash Collateral shall expire, on the earliest to occur (the first such
           occurrence being hereinafter referred to as the “Termination Event”) of: (i) the date
           Lender’s claim (as agreed to between the Parties or adjuducated by the Court) is
           paid in full (the “Payoff Date”); (ii) January 15, 2022; (iii) the entry of an order by
           this Court terminating the use of Cash Collateral; (iv) the conversion of the
           Debtor’s bankruptcy case to a case under chapter 7 of the Bankruptcy Code; (v) the
           appointment of a trustee or examiner; (vi) the occurrence of the effective date or
           consummation of a plan of reorganization; or (vii) the Debtor’s non-compliance
           with any term or provision of this Stipulated Order and the expiration of five (5)
           days’ notice of such alleged default and opportunity to cure.


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    Capitalized terms not defined herein shall have the meanings given to them in the Final Cash Collateral Order.




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        5.     Section 3 of the Final Cash Collateral Order is revised to read as follows, but only

with respect to the Debtor’s use of Cash Collateral for the months of December 2021 and January

2022.

        Carve-Out. Subject to the terms and conditions contained in this paragraph, the
        Adequate Protection Obligations shall be subject and subordinate to payment of a
        carve-out (the “Carve-Out”). As used in this Stipulated Order, the term “Carve-
        Out” shall mean: (a) quarterly fees required to be paid pursuant to 28 U.S.C. §
        1930(a)(6); and any fees payable to the Clerk of the Bankruptcy Court (the
        “Statutory Fees”); (b) actually incurred expenses included in the Revised Operating
        Budget but unpaid as of the Termination Date (defined herein) of the Debtors’ right
        to use Authorized Cash Collateral under this Stipulated Order; and (c) the aggregate
        amount of any fees and expenses of any Court-approved estate professionals (the
        “Professionals”) which are actually incurred, but unpaid as of the Termination Date,
        but only to the extent such fees and expenses have been previously or subsequently
        are approved by this Court and only to the extent such incurred and unpaid fees and
        expenses exceed any retainer held by any such Professional at the time of such
        termination. In addition, the Carve-Out shall include the reasonable fees and
        expenses incurred by a trustee under section 726(b) of the Bankruptcy Code in an
        amount not to exceed $10,000. Prior to the Termination Date, and subject to the
        entry of an appropriate order of this Court (in form and substance reasonably
        acceptable to the Lender), the Debtor shall be authorized to use Authorized Cash
        Collateral to pay compensation and reimbursement of budgeted expenses allowed
        and payable through and including the Termination Date in accordance with the
        Revised Operating Budget. To the extent the Debtor has insufficient funds to pay
        compensation and reimbursement of expenses through and including the
        Termination Event in accordance with the Revised Operating Budget, Lender
        agrees: (i) to pay the shortfall from the disposition of Lender’s Collateral; and (ii)
        the Carve-Out set forth in this Stipulated Order shall survive and remain in full
        force and effect regardless of whether Lender forecloses and/or sells the Collateral
        as provided in the Court’s prior Order [ECF # 85] lifting the automatic stay.
        Nothing herein shall be construed to impair the ability of any party in interest to
        object any fees, expenses, reimbursement, or compensation sought by the
        Professionals, nor shall anything herein be construed to affect the rights of any party
        in interest to file an application for the allowance of fees and expenses.

        6.     Notwithstanding anything to the contrary elsewhere in this Order, the Carve-Out

either (a) shall not exceed (i) the allowed amount of the Lender’s secured claim, minus (ii) the

amount of the winning foreclosure sale bid by the Lender plus any amounts paid to the Lender

during this case, or (b) shall be limited by the terms of the Court’s Order at Doc. No. 110.




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       7.      The Court shall retain jurisdiction with respect to all matters arising from or related

to this Stipulated Order.


                                                     _____________________________________
                                                      UNITED STATES BANKRUPTCY JUDGE




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                           EXHIBIT A

                 REVISED OPERATING BUDGET
